                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov

In re:

AVANTAIR, INC.,
                                                    Case No. 08:13-bk-09719-CPM
     Debtor.
                                                    Chapter 7
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                      TRUSTEE’S MOTION FOR APPROVAL OF
               INTERIM DISTRIBUTION TO ALLOWED SECURED CLAIMS,
                 ALLOWED ADMINISTRATIVE EXPENSE CLAIMS, AND
               ALLOWED PRIORITY WAGE CLAIMS OF EMPLOYEE CLASS

         Beth Ann Scharrer, as Chapter 7 Trustee (the “Trustee”) for Avantair, Inc. (“Debtor”),

by and through her undersigned counsel, files this Trustee’s Motion for Approval of Interim

Distribution to Allowed Secured Claims, Allowed Administrative Expense Claims, and Allowed

Priority Wage Claims of Employee Class, and in support thereof says:

                                         JURISDICTION

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this case and this Motion in this District is proper pursuant to 28 U.S.C. §§ 1408

and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                  FACTUAL BACKGROUND

         2.     On July 25, 2013 (the “Petition Date”), a group of petitioning creditors (the

“Petitioning Creditors”) filed an involuntary petition for relief against Avantair under Chapter 7

of the Bankruptcy Code. (Doc. 1.)

         3.     On August 16, 2013, the Bankruptcy Court entered an Order for Relief against

Avantair as a result of its failure to timely respond to the involuntary petition. (Doc. 106.)




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        4.     On July 30, 2013, the Petitioning Creditors filed an Emergency Motion for

Immediate Appointment of an Interim Chapter 7 Trustee Pursuant to 11 U.S.C. § 303(g).

        5.     On August 1, 2013, the Court entered an Order Directing Appointment of Interim

Chapter 7 Trustee pursuant to 11 U.S.C. § 303(g). (Doc. 27.)

        6.     Thereafter, Trustee was appointed as the Chapter 7 Trustee and files this Motion

in her capacity as the duly appointed, qualified, and acting Chapter 7 Trustee of the bankruptcy

estate (the “Estate”) of Avantair.

        7.      The bar date for filing claims against the Estate was March 15, 2014 (Doc. 484).

        8.      Pursuant to previous orders of the Court, the Trustee has entered into various

settlement agreements and has sold certain assets of the Estate. As of the date of this Motion,

the Trustee has funds on hand of $2,640,000.00.

        9.      Pursuant to a settlement by and between the Trustee and the Employee Class,

the former employees of the Debtor have an allowed priority wage claim pursuant to 11 U.S.C.

§507(a)(4) in the amount of $3,000,000.00.

        10.     Adams and Reese, LLP, counsel to the Trustee has filed a pending fee

applications seeking fees and expenses totaling $77,899.92.

        11.     Galaxy Aviation of Orlando, Inc. has an allowed administrative claim in the

amount of $50,000.00.

        12.     The Trustee is nearing completion of the administration of the Debtor’s case.

Substantially all assets of the Debtors have been liquidated. Trustee proposes to make interim

distributions as set forth in this Motion, reserving sufficient funds to pay anticipated future

expenses of administration.

        13.     By this Motion, the Trustee proposes to make interim distributions as follows:


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                (a) $125,000.00 to the allowed secured claim of Barry Gordon, as collateral

agent;

                (b) $77,899.92 to Adams and Reese, LLP (subject to approval of the interim fee

application);

                (c) $50,000.00 to Galaxy Aviation, Inc. on account of its allowed administrative

expense claim; and

                (d) $1,000,000.00 to the Employee Class on account of its priority wage claim.

As set forth on Exhibit “A” to this Motion, the Trustee anticipates that she will have sufficient

funds remaining to pay the Trustee’s compensation, taxes and expenses, and future

administrative claims from the funds remaining in the estate after making the payments

described above.       Thus, the Trustee has determined that she can prudently distribute

$1,000,000.00 to the Employee Class at this time. The Trustee would propose to make this

distribution in early December, so that the Settlement Administrator can make distributions to

employees prior to the end of the year.

         14.    This Court has previously entered an order limiting notice in this case. The

Trustee has served this Motion by CM/ECF upon all parties receiving notice in this case, and by

email on all fractional owners shown on the Debtor’s books and records, except for those that

have requested not to receive further notices in this case.

         WHEREFORE, the Trustee respectfully requests that the Court enter an order:

         (a)    authorizing the Trustee to make the interim distributions set forth above in

paragraph 13; and

         (b)    granting such other and further relief as is just and equitable.




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Dated: November 20, 2017


                                                    _/s/ Lynn Welter Sherman______________
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                                                    Attorneys for Chapter 7 Trustee


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 20, 2017, a copy of the foregoing has been

provided to all persons receiving notice by CM/ECF, and by email to all of the fractional owners

of all aircraft shown on the Debtor’s books and records, except those that have requested that no

further notices be sent.


                                                    /s/ Lynn Welter Sherman
                                                    Lynn Welter Sherman




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